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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
WILLIAM C. TOTH JR., et al.,              :    Civil No. 1:22-CV-00208
                                          :
             Plaintiffs,                  :    Three Judge Panel Convened
                                          :    Pursuant to 28 U.S.C. § 2284(a)
             v.                           :
                                          :
LEIGH M. CHAPMAN, et al.,                 :
                                          :
             Defendants.                  :
                                          :
             v.                           :
                                          :
CAROL ANN CARTER, et al.,                 :
                                          :
             Intervenor-Defendants.       :

                                      ORDER

BEFORE: Kent A. Jordan, Circuit Judge, United States Court of Appeals for the
Third Circuit; Patty Shwartz, Circuit Judge, United States Court of Appeals for the
Third Circuit; Jennifer P. Wilson, District Judge, United States District Court for
the Middle District of Pennsylvania

      AND NOW, on this 21st day of March, 2022, following an on-the-record

status conference with counsel and a joint notice to the court, Doc. 99, IT IS

ORDERED AS FOLLOWS:

         1) The deadline to file an amended pleading and join additional parties is
            March 25, 2022, by 4:30 p.m.

         2) The parties shall file a joint appendix containing the documents that
            will comprise the summary judgment record by March 25, 2022, at
            4:30 p.m. The parties shall number the joint appendix in a manner
            that can be cited to in all briefs for the Court’s ease of reference.

         3) In lieu of a statement of facts as required by Local Rule 56.1, the
            parties shall file a joint statement of stipulated facts by March 28,

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        2022, at 4:30 p.m. If there are facts to which the parties do not agree,
        each party may file a separate statement of facts with citations to the
        joint appendix by the due date of their opening brief. No party will be
        permitted to file a statement in opposition to the separate statement(s)
        of facts.

     4) Plaintiffs may file a motion for summary judgment and brief in
        support by March 28, 2022, at 4:30 p.m.

     5) Defendants and Intervenors may file motions for summary judgment
        and briefs in support thereof, as well as in opposition to Plaintiffs’
        motion for summary judgment, by April 6, 2022, at 4:30 p.m.

     6) Plaintiffs may file a reply brief in support of their motion for summary
        judgment and in opposition to Defendants’ and Intervenors’ motions
        for summary judgment by April 12, 2022, at 4:30 p.m.

     7) Defendants and Intervenors may file reply briefs in support of their
        motions for summary judgment by April 18, 2022.

     8) All briefs are limited to 7,500 words, with the exception of the reply
        briefs to be filed by Defendants and Intervenors on April 8, 2022,
        which briefs are limited to 5,000 words.



                           On behalf of the three-judge district court:

                           s/Jennifer P. Wilson
                           JENNIFER P. WILSON
                           United States District Court Judge
                           Middle District of Pennsylvania




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